       Case 8:24-bk-10285-MH Doc 49 Filed 04/25/24 Entered 04/25/24 14:57:21                                            Desc
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                                        United States Bankruptcy Court
                                          Central District of California
                                 411 West Fourth Street, Suite 2030, Santa Ana, CA 92701−4593

                               ORDER AND NOTICE OF DISMISSAL
                       ARISING FROM CHAPTER 13 CONFIRMATION HEARING
    DEBTOR INFORMATION:                                                            BANKRUPTCY NO. 8:24−bk−10285−MH
    Philip H Inman
                                                                             CHAPTER 13
    Last four digits of Social−Security or Individual Taxpayer−Identification (ITIN) No(s)., (if any): xxx−xx−8780
    Employer Tax−Identification (EIN) No(s).(if any): N/A
    Debtor Dismissal Date: 4/25/24


    Address:
    2042 Palmetto Terrace
    Fullerton, CA 92831−1251


Pursuant to the court's findings and conclusions made at the confirmation hearing in this case,
IT IS ORDERED THAT:

(1) debtor's bankruptcy case is dismissed; and
(2) the court retain jurisdiction on all issues involving sanctions, any bar against being a debtor in bankruptcy, all issues arising
    under Bankruptcy Code §§ 105, 109(g), 110, 329, 349, and 362, and to any additional extent provided by law.




                                                                                  BY THE COURT,
Dated: April 25, 2024                                                             Kathleen J. Campbell
                                                                                  Clerk of Court




Form van150−od13a Rev. 06/2017                                                                                              49 / JC6
